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UNITED STATES DISTRlCT COURT

Western District of Tennessee

United States of America

 

V.
Lal<esa Borner Case No. 05-10022-T/An
ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

T he defendant has this day notified the Court that she is attempting to obtain private counsel
to represent her in this action. Pursuant to the Speedy Trial Act, as set out in 18 U.S.C. §
3l6l(h)(8)(B)(iv), a defendant may be granted a period of excludable delay while attempting to
obtain private counsel.

IT IS THEREFORE ORDERED that the time period ofMay 3, 2005, through May 17, 2005
be excluded from the time limits imposed by the Speedy Trial Act for trial of this case, while the

defendant is attempting to obtain private counsel.

This 3rd day of May, 2005.

(____.__

 

UNITED STATES MAGISTRATE JUDGE

This document entered on the docket sheet in compliance
with Ruie 55 and/or Rule 32(b) rach on § lai l @ §

 

DISTRIC COURT - WESTERN

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:05-CR-10022 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

